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February 8, 2021

VIA CM/ECF
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 9, Room 6325
Wilmington, DE 19801-3555

        Re:       Interactive Games LLC v. DraftKings, Inc., C.A. No. 19-1105-RGA

Dear Judge Andrews:

         Pursuant to the Court’s February 5, 2021 Oral Order (D.I. 26) (the “Order”) instructing
the Parties to file a joint status report within three days from the date of the Order, Plaintiff
Interactive Games LLC and Defendant DraftKings Inc. (collectively, the “Parties”) submit this
letter to advise the Court of the status of the case.

         First, DraftKings filed petitions for Inter Partes Review for all asserted patents in this
case (“the IPRs”). On January 6, 2021, the Patent Trial and Appeal Board (“PTAB”) denied
institution of IPR2020-01108 concerning ’302 Patent and instituted the remaining three IPRs.
With respect to IPR2020-01108 for which the Board denied institution, DraftKings filed a
request for rehearing on February 5, 2021.

    USP 8,616,967                   IPR2020-01110                        instituted
    USP 8,956,231                   IPR2020-01109                        instituted
    USP 8,974,302                   IPR2020-01108                        institution denied,
                                                                         rehearing requested
    USP 9,430,901                   IPR2020-01107                        instituted


        Second, the Court ordered that the stay in this case continue “until there is a PTAB
resolution, either denying institution or reaching a decision on the merits.” D.I. 25. The Court
further dismissed Defendant’s motion to dismiss (D.I. 10) with leave to refile with updated
briefing when the case is unstayed. Id. Accordingly, there are no motions pending before the
Court.

       The Parties propose keeping the stay in place at least until the PTAB reaches a decision
on the merits of the three instituted IPRs.




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Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc: All Counsel of Record (via CM/ECF and electronic mail)




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